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                   Exhibit 6
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3800-FM-BPNPSM0169A      4/2012                   COMMONWEALTH OF PENNSYLVANIA
                                              DEPARTMENT OF ENVIRONMENTAL PROTECTION
                                          BUREAU OF POINT AND NON-POINT SOURCE MANAGEMENT


                                   GENERAL INSPECTION REPORT (Non-NPDES)
 Type of Inspection                 WQM Permit Number                  County                              Municipality
 Pollution Incident                 PA0006254                          Beaver                              Potter Township
 Name and Location of Facility or Pollution Incident                                                       Entry Time/Date
 Styropek Beaver Valley Site                                                                               ~0900/17JAN2023

 400 Frankfort Road, Monaca, PA 15061                                                                      Exit Time/Date
                                                                                                           ~1230/17JAN2023
 Name, Address of Responsible Party                                                   Title
 Todd Link                                                                            Environmental Engineer

 400 Frankfort Road
                                                                                      Telephone                           Contacted
 Monaca, PA 15061                                                                     (724)770-4380                 Yes         No

 SUMMARY OF VIOLATIONS/RECOMMENDATION/COMMENTS:
 The purpose of this visit was to discuss the way ahead regarding improvements made to the WWTP clarifier and
 the plan to address pellets(nurdles) found at the property. We spent some time in the conference room
 discussing short term and long term actions proposed by the company to address these issues. After the
 meeting we did a tour of he WWTP and facility outfalls. Specifically, we viewed stormwater outfalls 021, 025, &
 outfall 002. There were nurdles visible in the soil at the stormwater outfalls. During the tour, there were some
 visible nurdles on the road and gravel areas marked with an orange cone system for clean up. The source of the
 nurdles in these locations has not been specifically determined and were part of the discussion prior to the site
 tour. There will be some short term measures and long term measures to determine the source as well as
 prevent future instances of nurdles being released. The clarifier was back on line and the plant treatment
 process was still being studied/adjusted to improve operations. Further study is planned to improve future
 operations. After viewing the WWTP we went to Outfall 002. There was still a white colored plume in the vicinity
 of the discharge into Raccoon Creek. We discussed the areas the Department took sampling. We also discussed
 future sampling to be conducted by the facility. After the site tour, we did a wrap up of our visit. We asked for a
 timeline of corrective actions to be taken to address the previously sent Notice of Violation regarding these
 violations. Both parties agreed to discuss entering into a Consent Order & Agreement.
 Compliance Assistance Provided
 Pollution Prevention Activity
 Sample No.                    Location                                               Field Measurements and Observations
 None Taken                    Receiving stream at outfall                            White plume in Raccoon Creek vic outfall
                                                                                      discharge


 Inspector Name                     Inspector Signature                                   Title                    Date 17JAN2023
 Shawn P. Bell                                                                            WQS                      Telephone
                                                                                                                   412-442-4051
 Name of Person Interviewed         Signature of Person Interviewed                       Title                    Date 17JAN2023
 Todd Link                          e-mailed report 01/30/2023                            Environmental            Telephone
                                                                                          Engineer                 (724)770-4380
 This document is official notification that a representative of the Department of Environmental Protection, inspected the above facility or
 site. The findings of this inspection are shown above and on any attached pages.

 Any violations which were uncovered during the inspection are indicated. Violations may also be discovered upon examination of the
 results of laboratory analyses of the discharge and review of Department records. Notification will be forthcoming, if such violations are
 noted.

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  White - Regional Office                                 Yellow - Responsible Person                             Pink – Inspector
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                                            DEPARTMENT OF ENVIRONMENTAL PROTECTION
                                        BUREAU OF POINT AND NON-POINT SOURCE MANAGEMENT

                                         GENERAL INSPECTION REPORT (Non-NPDES)

 Name and Location of Facility or Pollution Incident         County                       Municipality
 Styropek Beaver Valley Site                                 Beaver                       Potter Township

 Photos attached.




 Inspector Name                                        Inspector Signature                          Date
 Shawn P. Bell                                                                                      17JAN2023
Page    of
  White - Regional Office                               Yellow - Responsible Person               Pink - Inspector
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             Styropek
                JAN 17, 2023, Visit
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Stormwater Outfalls 021 and 025
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Nurdles vicinity outfall 025 and road from
admin area
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Insert in catch basins to prevent nurdles migration;
more nurdles in gravel alongside road
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WWTP Clarifier and anti foam addition; nurdles in
emergency pond between turbidity screens
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Discharge from emergency pond; discharge to
aeration pond
           Case 2:23-cv-02067-NR Document 1-7 Filed 12/05/23 Page 10 of 11


Bank of aeration pond with nurdle build up;
discharge/sampling point for Outfall 002
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White plume visible in Raccoon Creek at
Outfall 002
